       Case 4:20-cr-00007-CDL-MSH Document 42 Filed 08/27/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

UNITED STATES OF AMERICA            :
                                    :                 CRIM. NO. 4:20-CR-7-CDL
      v.                            :
                                    :
AUBREY CRITTENDEN                   :
___________________________________ :

                           RESPONSE TO SHOW CAUSE ORDER

       Pursuant to this Court’s August 21, 2020 Order to Show Cause (Doc. 40), the United States

Attorney for the Middle District of Georgia files this Response. As previously stated, the United

States is ready and willing to try this case and does not seek to continue it. That said, if Defendant

wishes to file a continuance, the Government would not oppose that request. In addition, in the

event that Defendant does not provide sufficient reasons to proceed to trial during the moratorium,

the Government does not oppose the continuance of the case to the Court’s regularly scheduled

January 2021 trial term.

       Furthermore, in a pleading filed on August 12, 2020 (Doc. 38), the Government set forth

certain concerns regarding the Court’s COVID-19 trial protocols. The Court overruled those

objections in an August 21, 2020 Order (Doc. 39). Having reviewed the Court’s order, the

Government no longer maintains its previously raised objections.

       Respectfully submitted, this 26th day of August, 2020.

                                               CHARLES E. PEELER
                                               UNITED STATES ATTORNEY

                                               /s/Chris Williams
                                               CHRISTOPHER WILLIAMS
                                               ASSISTANT UNITED STATES ATTORNEY
                                               GA Bar No. 344049
                                               United States Attorney’s Office
                                               Middle District of Georgia
Case 4:20-cr-00007-CDL-MSH Document 42 Filed 08/27/20 Page 2 of 3




                             Attorneys for the United States of America




                                2
      Case 4:20-cr-00007-CDL-MSH Document 42 Filed 08/27/20 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I certify that I have this day filed the foregoing document utilizing the Court’s CM/ECF

program, which will cause electronic notice to be provided to counsel of record.

       Respectfully submitted, this 26th day of August, 2020.

                                             CHARLES E. PEELER
                                             UNITED STATES ATTORNEY

                                             /s/Chris Williams
                                             CHRISTOPHER WILLIAMS
                                             ASSISTANT UNITED STATES ATTORNEY
                                             GA Bar No. 344049
                                             United States Attorney’s Office
                                             Middle District of Georgia

                                             Attorneys for the United States of America
